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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           NORTHERN DIVISION

CHRISTOPHER EVERETT,
ADC #152664                                                                PLAINTIFF

v.                        CASE NO. 3:20-CV-000192-BSM

TERRIE BANISTER, et al.                                                 DEFENDANTS

                                        ORDER

      After de novo review the record, United States Magistrate Judge Jerome T. Kearney’s

recommended disposition [Doc. No. 9] is adopted, and Christopher Everett’s amended

complaint is dismissed without prejudice. Dismissal of this action constitutes a “strike”

within the meaning of the Prison Litigation Reform Act (PLRA). 28 U.S.C. § 1915(g). An

in forma pauperis appeal would not be taken in good faith. 28 U.S.C. § 1915(a).

      IT IS SO ORDERED this 19th day of October, 2020.



                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
